231 F.2d 666
    UNITED STATES of America, Appellant,v.Ernest C. WELLER et al.
    No. 15380.
    United States Court of Appeals Eighth Circuit.
    March 21, 1956.
    
      Appeal from the United States District Court for the District of South Dakota.
      Clinton G. Richards, U. S. Atty., Sioux Falls, S. D., Perry W. Morton, Asst. Atty. Gen., and Roger P. Marquis, Chief, Appellate Section, Lands Division, U. S. Department of Justice, Washington, D. C., for appellant.
      Harvey Willoughby, Burke, S. D., Julius D. Cronin, O'Neill, Neb., and Alfred B. Teton, Chicago, Ill., for appellees.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed, on motion of appellant.
    
    